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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 NATIONAL TREASURY
 EMPLOYEES UNION, et al.,
                Plaintiffs,
      v.

 RUSSELL VOUGHT, in his official capacity               Case No. JK-cv-MNO-ABJ
 as Acting Director of the Consumer Financial
 Protection Bureau, et al.,

                         Defendants.


                         SECOND DECLARATION OF EMORY DOE

       I, Emory Doe, declare as follows:

   O. I supervise the Escalated Case Management Team at the CFPB. The statements made in

this declaration are based on my personal knowledge.

   J. I previously submitted a pseudonymous declaration in this case. If the Court would like to

know my name and position, I am willing to provide it ex parte and under seal.

   M. On April OW, JXJK at Y:OZ PM ET, I received a notice of reduction in force stating that my

position was being eliminated. The notice informed me that I would lose access to all work

systems, including my email, at Z:XX PM ET on April ON, JXJK.

   Y. I have seven direct reports. I have personally confirmed with six of them that they also

received notices of reduction in force.

   K. I have also communicated with my seventh direct report. She is on vacation and currently

does not have access to her work email. She therefore does not know if she was also sent a notice

of reduction in force.

   Z. I received my reduction in force notice only on my work email. I believe the CFPB

attempted to send that notice to my personal email but failed to do so. That is because, on the email
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I received at my work email address, the CFPB copied an email address that is a misspelled version

of my personal email address.

   W. My seventh direct report will return from vacation after Z:XX PM ET on April ON, JXJK.

That means that, if she did receive a notice in reduction of force to her work email, she will have

lost access to that account before she can check for the notice.

       I declare under penalty of perjury, pursuant to JN U.S.C. § OWYZ, that the foregoing is true

and correct.



Executed in Washington, D.C. on April OW, JXJK.


                                                             /s/ Emory Doe
                                                             Emory Doe




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